20-05027-rbk Doc#2 Filed 05/01/20 Entered 05/01/20 15:11:06 Stamped Summon Pg 1 of 2


                                                       U.S. Bankruptcy Court
                                                       Western District of Texas
    In re:
                                                                  Case No.20−50805−rbk
                                                                  Chapter No.11
    KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, SERIES U
    Debtor
                                                                  Adv. Proc. No.20−05027−rbk
    KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, SERIES UVALDE RANCH, KRISJENN RANCH, LLC, SERIES PIPELINE ROW
    Plaintiff
    v.
    DMA PROPERTIES, INC. AND LONGBRANCH ENERGY, LP
    Defendant



                                                SUMMONS IN AN ADVERSARY PROCEEDING


    YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of
    the Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and
    agencies shall submit a motion or answer to the complaint within 35 days of issuance.



    Address of Clerk
                        Clerk, U.S. Bankruptcy Court
                        Western District of Texas
                        615 E. Houston St, Rm 597
                        San Antonio, TX 78205



    At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.



    Name and Address of Plaintiff's Attorney
                    Ronald J. Smeberg
                    The Smeberg Law Firm, PLLC
                    2010 W Kings Hwy
                    San Antonio, TX 78201−4926



    If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

    IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
    JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
    DEMANDED IN THE COMPLAINT.




                 Date Issued:
                 05/01/2020


                                                                             Barry D. Knight, Clerk Of Court
20-05027-rbk Doc#2 Filed 05/01/20 Entered 05/01/20 15:11:06 Stamped Summon Pg 2 of 2

B2500A (Form 2500A) (12/15)



                                   CERTIFICATE OF SERVICE

       I,                                 (name), certify that service of this summons and a copy of
the complaint was made                             (date), which is within 7 days after the summons
was issued under Federal Rule of Bankruptcy Procedure 7004(e), by:


             Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
              to:


              Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:


              Residence Service: By leaving the process with the following adult at:


             Certified Mail Service on an Insured Depository Institution: By sending the process by
              certified mail addressed to the following officer of the defendant at:



             Publication: The defendant was served as follows: [Describe briefly]



              State Law: The defendant was served pursuant to the laws of the State of
               follows: [Describe briefly]                                                            , as




         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                        Signature

               Print Name:

               Business Address:
